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 UNITED STATES DISTRICT cour                                                              FILED By /r-
                                                                                                    --       D c.
                                                                                                              .




                                  FoR THE SOUTHERN DISTRICT oFFLORIDA                         Jtl' 16 2020

 ANDREMIMs                                                                                    kto
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                                                                                                    Alï
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                                                                                                      /I
                                                                                                       A
                                                                                                       tj
 VS.                                                  CASE N0 97-08075-CR-KM M
                                                              .




 UNITED STATES OF AM ERICA
                              /

                           M IM S'REPLY TO THE GOVERNM ENT'S RESPONSE IN OPPOSITION TO
                      DEFENDANT'S REQUESTING M ODIFICATION OFSENTENCE PURSUANT TO
 18 U.S.C.
                                      3582(C)(1)(A)(i)F0RCOMPASSIONATERELEASE
   COM ES NOW ,ANDRE M IM S, herein afteqthe defendantorM r M im s,pro se and hereby replies
                                                                  .

to the governm entopposing M r M im s requestforcom passionate release M r.M im s w ould
                                  .
                                                                                      .
reply as follow s:

   The governm ents asserts that''
                                 given thatthe defendantw as sentence before Dec 21,2018,          .

section403doesnotappl/'

U The governm ent how ever, fails to take into consideration the num erous case Iaw , U.S.v.
d rkevich,U.S.v.W ade;U.S.v. M cpherson;U.S.v Redd;U.S.v.Chan;U.S.v M aum au,w here alIthe
                                                  .                           .

 efendant'sgranted reliefweresenlencedpriortotheenactmenlof1heFirslStepAct(''FSA''
                                                                                 )
as w ellas the basis ofthe case atbar, noting thatbecause ofthe severe stacking rules in place,
atthe tim e of'M r.M im s sentencing w as 25 years longerthatthe sentence he w ould have Iikely
received,168 m onths,ifhe were sentenced underthe Iaw as itexisttoday             .




   The FSA amended9244c)suchthattheenhanced mandatorymi
                                                      nimum      penaltyforssecond
oranysubsequent924(c)conviction,here20yearsat1helimeofMimssentencing, applies only
whentheoffendersfirstconvictionunder924(c)was''final'whenthesubsequentviolationwas
com mitted.(FSA codifiedat924(c).Asapracticalmatter,anoffendernow facesamandatory
fiveyearsconsecutiveforasecondorsubsequent9244c)convictionwhenmultiple924(c)
of
FSAfense
     did are charged inthe sam e indictm entwithouta previoushnalconviction How ever,the  .
         notm ake this change retroactive;and the am endm entdoes no1autom atically reduce
the sentence im posed on defendant'
Th                                   s Iike M r M im s,w ho w as sentenced before Dec 18,2018,
                                              .                                                .
   e FSA effective date.Rather,the FSA increased the opportunity fordefendant'   s to obtain a
reduction in theirsentence based on an individualized consideration underdesignated cri   teria
See U.S.Redd 202,U.S DistLexis 45977,in orderto be eligible forrelief M oreover,the fact .
                       .
                                                                          .
thatCongress chose to foreclose one avenue forreliefdoes not m ean itchose to foreclose
a
dIImeansofredressingdraconiansentencesimposeunder924(c) Nothing aboutCongress'
                                                                      .

 ecisionto passprospective-onlychangesto9244c)preventthisCourtfrom resentencing Mims
underthe Com passionate Release statute on the basis ofan individualized extraordinary and
oom nollinn roneora
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 The governm entclaim s that''Pertinentstatutes directs that''extraordinary and com pelling
 circumstances''allowingcomjassionatereleasearedefinedbythesentencingcommission''.
 Thegovernmentisoftheopinlonthatsection3582(c)(1)(A)(i)authorizeswhatsection403 of
the FSA did not.Aftera carefulIook atthe statute on com passionate release the governm ent'
                                                                                          s
argum enthita w all.

   The governm entcorrectly points outthatin secti on603(b)oftheFSA thatCongressadded
the passage thatperm its a defendant,aftera denialofa requestto BOP thatitsponsora
requestforcom passionate release,butw rongly argues that''in so providing, Congress did
notalterthe substantive criteria governing m otions forcom passionate release, w hich rem ain
subjecttobinding guidanceoftheSentencing Commission.Thegovernment'
                                                                 sdependenceof
B0P in these policy statem ent is a relic ofthe priorprocedure thatis now inconsistentw ith
theFSA'
      Samendmentof3582(c)(1)(A).Applicationnote(D)canno IongerIimitthejudicial
authority to cases w ith an initialdeterm ination bythe BOP Directorthata defendantcase
presents extraordinary and com pelling reason fora reduction because the FSA as expressed
allow s courtsto considerand grant sentence reductions even in the face ofan adverse or
unresolved BOP determ ination concerning w het* ra defendants case is extraordinary and
com pellingSee18U.S.C.3582(c)(1)(A),asamended byRL.115-391sec.503 (Dec21,2018).
The com m ission now-dated statem entindicating thatthe B0 P m ustfile a m otion in orderfora
Courtto consideracom passionate release reduction no Iongercontrols in the face ofthe new
statutorytextenacted explicitlyto allow a courtto considera reduction even in the absence
ofa B0P m otion Id.Consequently, those sections ofthe application notes requiring a BOP
determ ination orm otion are not binding on the court See Stinson v.United States,508 U.S.
                                                         .

36,38(1993)(''WedecidedthatcommentaryintheGuidelinesManuelthatinterpretsorexplains
a guideline is authoritive unless itviolates the Constitution ora federalstatute oris inconsistent
wilh,orplainlyerroneousreadingofthatguidelinel.Putdifferently,now thattheFSA hasrecast
the proceduralrequirem ents fora sentence reduction, even ifthe courtfinds there existan
extraordinary and com pelling reason fora sentence reduction w ithoutthe BOP'S determ ination,
then the sentence is notinconsistent 'w ith the applicable policy statem ents issued by the
Sentencing Com m ission>''18 U S.
                                .
                                  C.3582(c)(1)(A).Thegovernmentshould beawareofthe
recentchanges underthe FSA.See U S.v.Cantu2019U.
                                     .
                                                         S.DistLexis 100923(S.D.texJune17,
2019),
     .U.S.Young2020U.S.DistLeis37395at6(M.D.TennMar4,2020)(thegovernmentalso
concedes thatbecause the sentencing Com m ission'     s Policy statem ents has notbeen am ended
to reflectthat,underthe FSA,a defendantm ay now m ove forCom passionate release after
exhausting adm inistrative rem edies, the existing policy statem ent, w hile providing guidance is
notultim ately conclusive given the statutory change '
                                                     .
                                                       ).Thusthestatutorytextdefiningjudicial
sentence reductions authority around''extraodinary and com pelling reasons'     'and the policy
statem entofthe US sentencing com m ission under1B1 13 do notpreclude this courtfrom
                                                             .

resentencing M r.M im s.


   The governm enthas conceded thatM r M im s has exhausted his adm inistrative rem edies and
                                          .

thathis m otion forcom passionate release is ripe forreview      .




  The governm entagain incorrectly asserts that''
                                                the applicable policy statem entprovides no
basis fora sentence reduction based on concern regarding 1he length ofa previously im posed
sentence.SeeUSSG 1B1.13,3582 (c)(1)(A).Thisclaim iseasilydisputed.
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    Section3582 (c)(1)(A)authorizesthemodificationofasentenceimprisonmentif
 extraordinary and com pelling reasons ''
                                        and such a reduction is consistentw ith applicable policy
 st
 b atem ents issued by the Sentencing Com m ission''as setoutin USSG 1B1.13.In the case at
  arthis courtcan flnd U S.v.Urkevich instructive The Urkevich Courtheld that'a reduction in
                         .                       .

 sentence is w arranted by extraordinary and com pelling reason, speci
                                                                     flcallythe injuslice offacing
 a term ofincarceration fortyyears Iongerthan Congress now deem s w arranted forthe crim e
 com m itted'
            ,Also see U.S.v.W ade in thatcase the defendantwas sentenced to 392 m onths
 (32.6years)andthecourtheldthattherewereextraordinaryandcompelling reasonbased
 ontheimpermissiblestacking ofthe9244c)offensesand reducedthedefendant'ssentence
 to tim e served.M r.M im s requestthatthis Courtm akes the sam e hndings w here his 34 yea
                                                                                           r
 sentence is 25 years beyond whatthe courtnow deem s w arranted forhis crim e        .




  The governm entassertsthatM r.M im s has notcafried his burden ofshow ing extraordinary
and com pelling reasons forearly release consistentw ith applicable policy statem e
                                                                                         nt as
requi
thi redby3582(c)(1)(A)(i
                       ).Despitethegovernment'
                                             sargumenttothecontraryMrM im s ask          .
   s courtto recognize the extraordinary degree ofrehabilitation he has established in his 23
yearsofincarceration(Seeattached ex.inMims'motionforcompassionaterelease)                    .




   As previously m entioned in M im s'm otion forcom passionate release he does n
a dangerto th                                                                    otpresent
              ecommunityasprovided by3142(g),
                                            '1B1.1342).Thefactsofthosedetailwere
clearlyIaid outinMims'motion(seeDktentry406)         .




  Therem aining factorssetoutin3353(a),alsoclearlyexpressed inMims'previouslyfiled
m otion com ports w ith the necessary factorin the statute Id.
                                                         .




Accordingly M r.M im s requestthathis m otion forcom passionate release be g
courtm                                                                       ranted and the
ofth   odify the term s ofim  pri
                                sonm enton  Counts 2 and 4 top ti
                                                                m e ser
                                                                      ved ,w i
                                                                             th aIIotherterm s
    e sentence as originally im posed on October30, 2002 to rem ain the sam e    .




Signed and Dated June 3, 2020.



                                                                 Respectfully Subm itted,



               Andre M im s 40565-054
                                                             &
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